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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

BILL A. BUSBICE, JR., an individual;
OLLAWOOD PRODUCTIONS, LLC, a
limited liability company; and ECIBSUB,
LLC, a limited liability company,

                      Plaintiffs,

           v.                                             Case No. 1:17-cv-1640

ADRIAN VUCKOVICH, an individual;                          Honorable Andrea R. Wood
COLLINS, BARGIONE & VUCKOVICH, a
partnership; and DOES 1 — 50, inclusive,                  JURY TRIAL DEMANDED

                      Defendants.

         DECLARATION OF BILL A. BUSBICE, JR. IN SUPPORT OF
PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT #2 AS TO NEGLIGENCE AND
                    BREACH OF FIDUCIARY DUTY

           I, Bill A. Busbice, Jr., declare as follows:

    1. I am a plaintiff in the above-captioned action, and a managing member of the two other

plaintiffs, 011awood Productions, LLC ("011awood") and Ecibsub, LLC ("Ecibsub"). I have

personal knowledge as to all matters set forth herein, and if called to testify as a witness, I could

and would do so.

    2. My primary residence is in Wyoming.

    3. 011awood is a Louisiana limited liability company. I am the sole member of 011awood.

    4. Ecibsub is a Louisiana limited liability company. Ecibsub's members are: myself,

Dorothy Elizabeth Lippman Busbice, an individual domiciled and residing in Wyoming; and

Rebecca T. Romero, an individual domiciled and residing in Louisiana, as Trustee for the Ryan

Alfred Busbice Family II Trust, the William Matthew Busbice Family II Trust, and the Sarah

Elizabeth Family II Trust. None of these trusts are Illinois trusts.




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    5. Luxe One, Inc. ("Luxe One") was formed to provide funding for a prints and advertising

("P&A") loan in connection with the theatrical release of The Letters, a film about the life of

Mother Teresa. A true and correct copy of the term sheet provided to me by James David

Williams ("Williams") for my first investment in Luxe One is attached hereto as Exhibit A.

    6. Luxe One is a California corporation that Williams formed in July 2013, with its

principal place of business in Los Angeles, California. Attached hereto as Exhibit B is a copy of

the Official Corporate Records of Luxe One, Inc., including the Articles of Incorporation.

    7. At the time of Luxe One's formation, the documents reflected that 011awood owned 25%

of Luxe One's shares; Williams, through his investment vehicle New Legacy Film Investments

V ("NLFI"), owned 25% of Luxe One's shares; and outside investor Chart Investment Fund

CV12 ("Chart"), an outside investor, owned 50% of Luxe One's shares. Attached hereto as

Exhibit C is a true and correct copy of the Waiver of Notice of Organization of Meeting of

Directors and Issuance of Shareholder Certificates of Luxe One, Inc.

    8. The documents reflected that Williams was Luxe One's President and Secretary, while I

was Luxe One's Vice President and a director of Luxe One. A true and correct copy of the

corporate meeting minutes reflecting this is attached hereto as Exhibit D.

    9. In reliance upon representations by Williams and his counsel, Barry Reiss, through my

investment vehicle 011awood, I wire-transferred $6,000,000 through two separate wire transfers

to Luxe One's bank account at J.P. Morgan Chase Bank, N.A. ("Chase") to invest in a P&A loan

for The Letters.

    10. In early May 2014, I discovered, upon receiving Luxe One's true Chase bank statements,

that neither Williams, through NLFI or by any other means, nor Chart, had invested any funds

into Luxe One. The funds wire transferred by me through 011awood were the only funds ever




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transferred into Luxe One's Chase bank account and none of those funds were invested in The

Letters.

    11. Under the terms of the July 30, 2015 settlement in Busbice, et al. v. Williams, et al., Case

No. CV 14-4007 PA (C.D. Cal.), Luxe One transferred and assigned to 011awood "any and all

claims, suits, causes of action, contract rights, intellectual property rights, insurance claims, tax

refunds or rebates and/or any other enforcement rights and recoveries now or in the future by, for

the account of or for the direct or indirect benefit of Luxe One."

           I declare under penalty of perjury that the foregoing is true and correct. Executed on

June 26, 2018 at Jackson Hole, Wyoming.


                                                        Bill A. Busbice, Jr.




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